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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                              Case No. 01-cr-40017-JPG

 TYRONE HOLMAN,

                Defendant.

                               MEMORANDUM AND ORDER

       This matter comes before the Court on defense counsel’s Motion (Doc. 485) to withdraw

and “no merits” statement. On April 9, 2008, the Court appointed the Federal Public Defender’s

Office to represent Defendant Tyrone Holman to explore whether he qualified for a reduction of

his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States Sentencing

Guidelines Manual (hereinafter “U.S.S.G.”) § 1B1.10. Holman’s counsel eventually filed the

instant motion, wherein she states that no non-frivolous arguments can be made in support of

reduction. See Anders v. California, 386 U.S. 738, 744 (1967). Despite the allowance of a

response period by this Court (see Doc. 487), neither Holman nor the Government responded to

defense counsel’s motion.

       Holman pled guilty to one count of conspiracy to distribute and possess with intent to

distribute more than 50 grams of crack cocaine and three counts of possession with intent to

distribute crack cocaine. At sentencing, the Court found by a preponderance of the evidence that

Holman’s relevant conduct was at least 35 grams but not more than 50 grams of crack cocaine,

which under U.S.S.G. § 2D1.1 yielded a base offense level of 30. Since Holman carried a

dangerous weapon during the commission of his crime, his base offense level was increased by

two points pursuant to U.S.S.G. § 2D1.1(b)(1). However, his offense level was reduced by three
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points under U.S.S.G. § 3E1.1 for acceptance of responsibility. The Court further found that

Holman was a career offender under U.S.S.G. § 4B1.1 based on prior drug or violent felony

convictions, which raised his offense level to 34, again reduced by three to a final level of 31 for

acceptance of responsibility. Considering Holman’s criminal history category of VI, established

by his career offender status under U.S.S.G. § 4B1.1, this yielded a sentencing range of 188 to

235 months in prison. The Court imposed a sentence of 228 months for each count.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o).” In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and

must ensure that any reduction “is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2) (2006). Thus, a defendant urging a sentence

reduction under § 3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must

have lowered the applicable guideline sentencing range, and (2) the reduction must be consistent

with applicable policy statements issued by the Sentencing Commission. If the defendant cannot

satisfy the first criterion, the Court has no subject matter jurisdiction to consider any reduction

request. United States v. Lawrence, 535 F.3d 631, 637-38 (7th Cir. 2008); see United States v.

Forman, 553 F.3d 585, 588 (7th Cir. 2008), cert. denied sub nom. McKnight v. United States,

129 S. Ct. 1924 (2009).

       Holman cannot satisfy the first criterion because he was not “sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2) (2006). Amendments 706


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and 711 amended U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base

offense levels associated with various amounts of crack cocaine. The Sentencing Commission

amended U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack

cocaine and sentences involving powder cocaine. Holman, however, was sentenced based on his

base offense level set forth in U.S.S.G. § 4B1.1, not his base offense level set forth in U.S.S.G. §

2D1.1. See Forman, 553 F.3d at 589-90. Thus, his guideline range has not been lowered, and he

cannot satisfy the first criterion under 18 U.S.C. § 3582(c)(2) for obtaining a sentence reduction.

       Accordingly, the Court GRANTS defense counsel’s Motion (Doc. 485) to withdraw.

The Court DIRECTS the Clerk of Court to mail a copy of this Memorandum and Order to

Tyrone Holman, Reg. #10408-041, FCI Memphis, Federal Correctional Institution, P.O. Box

34550, Memphis, TN 38134.

IT IS SO ORDERED.
DATED: February 4, 2010
                                                                  s/ J. Phil Gilbert
                                                                  J. PHIL GILBERT
                                                                  DISTRICT JUDGE




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